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   April 5, 2018

   Honorable Cecelia G. Morris
   Bankruptcy Court Judge
   United States Bankruptcy Court
   Southern District of New York
   One Bowling Green
   New York, New York 10004

   Re: Louise S. Amore
   Chapter 13 Case No. 17-12579 cgm
   Confirmation Hearing of April 12, 2018
   Status Report

   Dear Judge Morris:

   I am submitting the following Status Report:


       1. On information and belief, Debtor is current with her Chapter 13 Plan payments.

       2. Debtor is reviewing Claim by her Mortgagee for a possible Motion to Object to same.

   Very truly yours,

   s/Harold S. Entes
